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12                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
13                               LOS ANGELES DIVISION
14
      HARVEST ROCK CHURCH, INC., and
15    HARVEST INTERNATIONAL
      MINISTRY, INC., itself and on behalf
16    of its member churches in California,
17                                   Plaintiffs,
                                                       Case No. 2:20-cv-06414
18    v.
19    GAVIN NEWSOM,                                    PLAINTIFFS’ NOTICE THAT
      in his official capacity as                      HEARING ON EMERGENCY
20    Governor of the State of California,             MOTION FOR TRO IS
                                                       UNNECESSARY AND SHOULD
21                                                     BE DISREGARDED
                                     Defendant.
22                                                     The Honorable Jesus G. Bernal
                                                       Hearing Date: Jan. 4, 2021 9:00 AM
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 1     PLAINTIFFS’ NOTICE THAT HEARING ON EMERGENCY MOTION FOR
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
 2                  IS UNWARRANTED AND UNNECESSARY
 3         Plaintiffs, Harvest Rock Church, Inc. and Harvest International Ministries, Inc., on

 4    behalf of itself and its member Churches, hereby submit the following Notice that a

 5    hearing on Plaintiffs’ Emergency Motion for Temporary Restraining Order and

 6    Preliminary Injunction is unwarranted and unnecessary, and that Plaintiffs only included

 7    a hearing date on the Emergency Motion because of this Court’s Local Rules requiring

 8    a selection of a hearing date. For the following reasons, a hearing is unnecessary and

 9    unwarranted, and a temporary restraining order and preliminary injunction should issue

10    immediately without a hearing.

11          1.    On December 3, 2020, the Supreme Court of the United States issued its

12    Order in Harvest Rock Church v. Newsom, No. 20A94, 2020 WL 7061630 (U.S. Dec. 3,

13    2020), vacating the Ninth Circuit and this Court’s previous denials of injunctive relief

14    and instructed this Court to reconsider its previous rulings in light of Catholic Diocese of

15    Brooklyn v. Cuomo, 592 U.S. –––– (2020). (See dkt. 58-1, at 1).

16          2.    Specifically, and relevant to the instant Emergency Motion, the Supreme

17    Court stated:

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           The application for injunctive relief, presented to Justice Kagan and by her
19         referred to the Court, is treated as a petition for a writ of certiorari before
           judgment, and the petition is granted. The September 2 order of the United
20         States District Court for the Central District of California is vacated, and the
           case is remanded to the United States Court of Appeals for the Ninth Circuit
21         with instructions to remand to the District Court for further consideration in
           light of Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. ––––
22
           (2020).
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 1    2020 WL 7061630, at *1; see also Harvest Rock Church, Inc. v. Newsom, No. 20-55907,

 2    2020 WL 7075072, *1 (9th Cir. Dec. 3, 2020) (noting the Supreme Court’s order and

 3    remanding the instant case to this Court for reconsideration).

 4           3.    More to the point, the Supreme Court’s decision in Roman Catholic Diocese

 5    v. Cuomo, No. 20A87, 2020 WL 694835 (U.S. Nov. 25, 2020), made unequivocally clear:

 6    “the Governor’s severe restrictions on applicants’ religious services must be enjoined.”

 7    Id. at *4.

 8           4.    The Governor has previously chastised Plaintiffs for seeking relief without

 9    waiting for the hearing that Plaintiffs’ purportedly “noticed” in a motion. See Harvest

10    Rock Church v. Newsom, No. 20-55907, dkt. 11-1 at 8 (9th Cir. 2020). But, Plaintiffs

11    only included a hearing date in the instant motion because this Court’s local rules require

12    a motion to include such a date. See C.D. Cal. L.R. 7-4 (“On the first page of the notice

13    of motion and every other document filed in connection with any motion, there shall be

14    included, under the title of the document, the date and time of the motion hearing, and

15    the name of the judicial officer before whom the motion has been noticed.”).

16           5.    Plaintiffs respectfully submit that neither the Supreme Court’s opinion in

17    Catholic Diocese nor the Supreme Court’s direct order in the instant matter require any

18    hearing on the instant Motion. The Supreme Court has made plain (and enjoined) New

19    York’s orders restricting religious worship services to 10 or 25 people as clearly violative

20    of the First Amendment, and the Governor’s orders here – which impose a total

21    prohibition on religious worship services – are far worse than the orders already found

22    unconstitutional in Catholic Diocese.

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 1          6.    Plaintiffs respectfully submit that the Supreme Court’s Orders in this case

 2    and its clear holding in Catholic Diocese make plain that the only course of action is to

 3    immediately issue the temporary restraining order and preliminary injunction, and no

 4    hearing is necessary to reach that conclusion.

 5          7.    Thus, this Court need not contemplate a hearing on Plaintiffs’ instant

 6    emergency Motion, but must – consistent with a clear holding of binding Supreme Court

 7    precedent – enjoin the Governor from enforcing his unconstitutional prohibitions and

 8    restrictions on Plaintiffs’ religious worship services. And, it should issue the TRO and

 9    preliminary injunction immediately to avoid the ongoing irreparable harm being imposed

10    on Plaintiffs’ Churches.

11                               Respectfully submitted,

12    /s/ Nicolai Cocis                             /s/ Daniel J. Schmid
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20
                                       Attorneys for Plaintiffs
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                                   CERTIFICATE OF SERVICE
 1
      Case Name: Harvest Rock Church, Inc. et.             Case No. 2:20-cv-6414JCG(KKx)
 2               al. v. Newsom
 3    I hereby certify that on this 4th day of December, 2020, I electronically filed the following
      documents with the Clerk of the Court by using the CM/ECF system:
 4
       PLAINTIFFS’ NOTICE THAT HEARING ON EMERGENCY MOTION FOR
 5     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION IS
       UNWARRANTED AND UNNECESSARY
 6
       I certify that all participants in the case are registered CM/ECF users and that service
 7     will be accomplished by the CM/ECF system.
 8     I declare under penalty of perjury under the laws of this State of California and the
       United States of America that the foregoing is true and correct and that this declaration
 9     was executed on December 4, 2020, at Lynchburg, Virginia.
10     Daniel J. Schmid                             /s/ Daniel J. Schmid
           Declarant                                      Signature
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